Case 5:17-cV-OOO79-.]LH Document 19 Filed 07/12/17 Page 1 of 4

 

 

 

 

  

 

 

 

 

 

*\ H,s.-.§D
j IN Tke MNM 5"|"`¢1‘/;€.$ \DI_S+R|C;{; CDM'tvU; )`xSm\CI'C»S)RUKANSAS
_ @M~M#Ri¢t mc Aal<owms JuL122017
pz`Ne 5[¢4+`~{-` `Div;`si`o/v L;~:r_g s ~ 4\~,<;0;<:¢.,»\0»<,CLERK
153 »-"~' ”'""Tin)‘<':T§r'u-<
cAM|@S z. umwa 1”*/L/\z'oez p/qi,vh¥¥
\/. case ~o, 5)'7 c,v ownmw.p
.,.DQNNV BMR/S J. e‘(i. ov[, ~D€uCO\/JW\/{Z`§

 

 

)D/au\/+f{¥§ R€SDo/\/$P/ 7`0 l)e.\Ce/v&wés nwth 7b lJ/s/v\/ss"
_QMN@ 30 aom Hvz

 

 
  

 

 

 

 

§Wo\ow‘f? wl\o wQR€, n\€/v\LR/<S o“F 4 clas$(£,¢:hgd @Mml'lfi'€e ii pdi [/ /g:?@[:[

es ' `.' ` .-,4.2…, -v' “.,».s£ezof=

     

 

 

   

use o-F H\Q. A£K. :le,o c c c a e JM;§
v/<Se o `ws `f</va A/~~HFF A£-te< kw »ev Jc
_ik\§.__d_"§m_d¢bi$__ w v w

 

 

 

… CoNsls'k»/'b NU\ male M_ML`DQNN_QJ)_,_"I|B Ll 53"15.- (N"I'~l
.,AHS§__L¢D~/g_ 11ade md jp&ug_ _s_-kge_s_s_

.'leo:bdlé: MMQQL…`@LMMLJ_WK)L
sm\\v As$o\v\\{¢o\ GN m ‘~) <€><k [+A> will vexle off ~=H\o, +ob 09 ~H\L mgg,_

M_MQMMAPM… w @mwr+

o m 1551 ;Md;\L ii bad A/$e_a_d\/ BQ!N coNJuo'/:Ml TRQ._Q&M§ __
nfl ~H\sz, Q\Q:FQNJMS wewa ova id vz`olxln`o/\/ 0'F Agl’. JQ/$`£ 010 Q)/<R. pQ/)`C/v m\l

AA~\|NF;}R_A~h»/z egggggj@h`m QLn;/`t§;g;fm heg,gims £m". w€Ae ole/ve 'b:) '<‘,Ajll +ksz
_PIQiA;EE £§Qm £`lm{g SSIQYQLC&£ Angi HWR UWDADF€SSLoA/od €oNJMC/‘b Hvav+

las c ' ` sT S mv rv

_iiff\_&,_BMA) oRJ€/€ m\/A )`scm[i`/veol< oko+€c'{; ~H\Q, plo\}/~J+)FF as H\€)/ WSW_M{€J
< 'PAGE ; mc y>’

 

 

   

Case 5:17-cV-OOO79-.]LH Document 19 Filed 07/12/17 Page 2 of 4

1\

H_M it hew 61 secweijcv <;QNQ,QR/v 615 1;1\1, Ad"e~clcwts suqqesi~€o| rha/015
111 1116 111 owed 1111 1161`~11€111~111 111 166 111/wst 111 6111;1116
_£&l;o./\l 111va ‘1'1\€/1 1111/11 was ike 01011\\1'111:1: 191:'1' 1`/1/ Jd\sc 12191`$0 2111/1141

lacb`o/\/ 1111/121 MMC,1\/ 36 &Ol$ )‘1'(:'1€19 jz\1K1`A/a wlth AAK 61111>`1€, 012 C`a/€R. 1111`1€/€/\//4/
ll¥-Fm ~AS' hawast 1~/~/\01‘1€ ToNv/vv Le@ a/V\111$ wch C:uqk`f' wl‘H\ “CNL /6\/11€€ m
oe\\ an~e 1711
_N\eo\m‘bdzl N\S. fv\1115 6113/\/1 pose owv ‘1‘1\/9€01+ 15b '£1\: plaM{zFF kec:\,\$e 1191%1
jo 1`0\§0\ -H\@ 1101\11\1‘11Pf pkov\`o\e61 +1\e LNFoR/v\<r&`<m/ -10 sech'lzy. ”L+ 111/45
1111 01011/@ '11> CA1117. 619 019\/ 50501 1410/10 1`1\/ 1115 o~F£`c»e 1111`%11/'11151?11\1M
O~¢JA L+ L L. Hdll mm 1111 p/o\u~)-IFFF F6A %k@ 61413@1/616/1/15 ~101`/v51`/v
adm 011112£1)\/1$@. ;/10111111 ,4<11/1`5@ Jcke<.oukt +kxb 1.“1\@11 61`111)1: -119115”@ 20101\
pike 01\/01 ~H\oj€`$ w\/ 911/1094ch 51"1\)10117`01~/ causing 01 secu,€Hc/v 1)/<@@0111

 

 

  
   

com1>10\1`/1/ 51111111161 Npi; 109 dismiz;z; 1019 1¢01111119@ -11> 511‘1;€ 61 01011/1/1 hee¢ms</kg
1115 bgovw 12va 01611>111115 1661$ %/1@1: :11,1>1)0791 /11`$ emma ma /1<>1'10/\1 +11£0_117_1015
<7:)<1\'1` 1>1’£5¢1 *5`>¢111/01 611`5~11$51)J 101/1169 1111119 191(1»)(6) mee/1165 111111/ '/~o 211`1\/111\/011€ AC‘hh¢
11\111?1»9€, ~13¢*17)\111/ -1`1011~@¢1 1~§€1\2,1`19 1140\1 »RQM}ses 611/01 J€SmA/QJ ‘101:0111 H\e/<el)y

 

 

 

s ` s bwedw 1113 WN@@;m,Q/v 11>11<&1791111 60~1:1'1/#9/.11@4@ 1111 01)11`1/'
ji¥{ 1145 fmc vw %1\»9011411111`5 z><1\1101"c$ 11//111¢ exegm$)`/v . s »./1 ecte) . s 11
.b h il 1 § ’ l K ig l w l d 11~ .t' 115 ’1 514 A/M`£€

q/<\`e\/aNce 11/<0¢:€.6111/9€ 611>1111”1 H\s>. 612¥'€/1/616/1/1§$ va¢°\o¥esswA/o»/ coA/¢lucf %hzv ‘11>0&
AJ\/€A S'Q 6:01]`0711 QN 1111/1 5`1A`11W3 “1:1~».1/ /1A61 ¢m/QA/ /\/`/v\ 11641/91/\/¢1$ ‘H\LJ;/AI./\/b`l;(" /v‘}$
11 s fed `5 N g 1/€, 5

01111/ jackson 03 -1§119 1110 Rwso/\/ 61 611 As 1111/a ,4: 'rt 611`111/% 111_11¢9111@ 5g;1511o1f`o¢
5€/@<011`~1 \/. WaKnveKo)(A L/€O 11 5 333 6993\1)>61,1161 1:1\2/99 was 61 casua/ Co/\/'

¢/u‘;bb/\/ 112:1&,1/€9/\/ £1\<1 ~lwo 11@,6611,1$€ 151\2 de:€`€A/J)w\r(:s 610/ve 1,J1\A1T H\L/./ 61101 61\»£
1171 “1:1¢__'910\1\1\/'1?1‘1:‘1~` §,><€Rc/\snva 1\1$ nRo'{?€CbiJ 1991\`17 w1\Q/ve\/QA 131\$1 <1@1:01/01011/15$ ‘5111€1
M_MM,<_C_QM 01 5111@1111, 65 1111~11’@1161 117 1111 1-161¢ 1111/1111 111/1111
+1\&1`19 erodeva 001/1794ch 611/11 ~1~19/11/1/1¢\10 1111 010\1)1/111:\° akiev€d 1:11@1`19 rlea/ely

<PA@§ 151 H>

    
    
     

   

Case 5:17-cV-OOO79-.]LH Document 19 Filed 07/12/17 Page 3 of 4

1\

zshlo\ \1`51\@0\ MQAQ£€$SioA/o~l 01>~1)1111¢1: MJ oeAso/~/o»l iNvolv</v\w‘t wkick levi iv
J ca~\.b<xmn oil ka,€a$$ ~\QA/t +Moua£\ovd? ‘H\Q, 5@\/€/\/ mnA/H\$ 'H\sz, D)NMM`:(: wm
`s 9 echo ;v€/<)/ twa H\s» blach{H qmevec) m?sco~
wet if was +`owvo\ witko:d: ~\wt ¢l+ko\mlh `rf` pAope/<lv 1`1\/\/€5%1¢1111{€0, Lv w@@dm
l>wv~v 1511/ab org clam-ly clh€ech>L/vmww iva/vs cm ad 011/v h‘~\e Ke€oeds weak
_DRD\/€/ o“U\QRu~/Isz. I+ wch A CoV€/< up \L`Ro)v\ am ‘b 592 V e
319~ F. 361 '730 (5+“ CSR. 2100&\§ 11/\1§.l e/< s d ‘ '~` 5 '1/e,
`s 1v bus anS‘H'/mboA/@/ kmkf; ‘H\RA/ ~I)QANs¥e£/Qed 1111 W\/l$l\
l\`uvx “F`OA CoMD)NA/lr\/a aLoudj … /?C,‘hI/HJ£S PRISON 0§`1 C\\<A,$
mms+ ~o’b use +RAN§J:`§A$ oR segmqaclnb/v ~/n AQHH¢JE 1/111111€ Access ~)D fm cOM'LL§
5@¢</1_/`1@1}\ 1/ SeEVe,e/m/q 3m F HBJ ;1910 (3’»| CjA. AOoOYTke 111111`11/1113$ Ms DRovf@\e¢)
mm H\ow 11 legal co~clusPo/v md a se;t 012 1€<1¢1':$ AQM@N$~}MHW<: +l/\[Af m
_aleA-`e/~/JaA/v';s v1`o}11d-ea' /\1`5 151st A~\Q/\/JN\Q~‘C RML\'L' 'éo odth ke$ Co~:‘h‘lu’ho/\M}h
MJA/ urbH.w\ 5e.@ <E)<\'ub ms /I \T> ch blaiNHF¥ N\s 1)/%€>\1'\`0\€¢)7
+N 110ch erL iv<;) l`1c1‘t @\oCuM€'~/Jcah`o~ 1`.'\/ <;2<1\1`\1111:/4>1>¢15.£ ‘~l‘ ‘<i)<hl>|t]))
Dqs1l Ll‘. <€1<\1\1%11? G>c>q$ l q his whech wc)\S/~/JC Rav\eww\ MAsm,\1ml\ \1/ b
fm Ae@~da~ts 1ALA ~\'gowi~q€)d 11501/v a~o\ L>\/ Rz\evow‘c s+aA/Aa,éo\s ‘h> A@~l€,e~\w
JJKQTNR ‘\9. Skom\d L& £eflCOuNQCl l\N S‘lqR€qa'h/<)N ok Rbi\AR/\/&Ol +O bolou~\ab\o/\/ 521
<Ke\\v v1B1mb/QR 535 F ad 3‘1‘1 ‘100 CBH\ Cm 1°1'75>> I~ w1|l1¢1~\s .21008 WL}
;100331¢1 _ 01 <-M£Jc gwm@@} MM@)¢ ‘!Wj ~6 vo/< `s ‘c`11
based wl ngo)o~m\ co~%‘~<z~\wt 1/\1/1¢\~\1~15~ va seqke<)o:h`or\) wk@:ws
O€(-`Med Jvo i'\/m\€A/oe wkoi$o£\/QR 015 ‘h wL\\/ j+o,v cth/l\ko\ed AF~}QR €AC}\ kv.Ml/V¢
Lo, ~hs \/ ` w (` ams s s
$wm\~; 01 seCuRrEv C¢>NCQ)W o& ‘H/\Reod? I¥ 'H\Mz wo\€€j wo\$ eve/§ A/~/V 191/led

41~/\1>|1€) ca mfgszo\ 01,1 H\L nimmth ince at m NW)Q/v\um S\>,cwéi`h/ MNR‘,'H;QA

JAW__NLLL }\Q,IJ 1~ /zL$ ms~M/v -E>R 521/w Mom€i\s ‘{D AaqMc/d>€w__
co 25 501 s‘l' e,

Ma$ NQV'?A 1~ oA/\/ gl1$Cib)1A/M/V 74€01/1£/9 QNJ WAS 0\ Role mode/ /A/Ma'i`€ with

41 m1~1~\11~1 cv\s-§@lv olas)'v%`c¢dmv same wlw~\ could }\Ave bea/v `lMN&E/@ee

. och owv %1\~\@ 150 01/1\//1/ volume /`/1/ fm HA//'£€a’ S‘/m'€S 50 /o/vq asnf' " nfwo\s/W,L ¢/oA/Q;

<PAGZ 3 1111 11>

 

 

 

Case 5:17-cV-OOO79-.]LH Document 19 Filed 07/12/17 Page 4 of 4

1’\
__'1’0 @2:1;0\1111‘17€ oAL 1\1~\ '1"€>/°\ 211€/€€1\51~; 1\15 Cn~5'11‘11)\120/1/011 14141/\'175 lYR /V\1115
4205 1\11\115€J 1~ O\ oN% /v\wv @,11 1111 a01/1/\1~151M11`Ve, sw/<eqo:bb~ as wQ,11 115 11\<2,
_1>10\11\1111:~(: IV\R, 1v\111'>' was 1\12,101 15a 1511~1$1\~<1/\/1; 1ZA 1115 1011 1011141/101€ 011\/011,\11€1)/§171_
_01011\/<15 /Y\R hLJM/WPA “F>A 9011/151\~\0/1/1 Co\/€/€ec1 1)11> 1>1/ 01 51\0/~/1 016 /1 56011/€1‘151/
_ance/W 1)\/ 01@@/1/0101/\/1'$ 120011,15@ tkv.y 11211€\/€01 1\.0/ 1400/1 1222/1110‘&\111/ 1\111\//¢575
_11.1&11 111/‘1€/€/\/011 A-F'f%u`~k$ 01\)11411\/<1 1112 5'1»€€.55 A¢~/c\ 1/51`5 ~1€5‘111'\/0 011/01 1NV€51100"110N
_<21<1\11)511:1`> 15 01 pA1>'o/v Ae;h`hij 1101 0~11 110 c1 2\6@\/0101/$15 wQ/Q€ 112450/\/0111/
_o\wo~)°\'; 013 0\1\/01 wc;\$ 01€0\£1\/ 65101101151'\901 111 11\;1_ 111\/\12/ 1\@ oR 51\@ j¢~/€W ~£NV
12§£< 19<,;13`1\/4 111€001111/ 1,1,1/0112/4 Co/o£ 016 5111€’/ /01/11 011~€1~<1 + s c sS/`
_;E§¢Lo/\/ 1\201,€1/\/01$ ‘1/`1\2 011>;§)\/¢101/1$ /111 16~/€11\1 11\9. 010\11\/‘171`1" Wo\$ /\/0'1 j1\/?/1/ .
_:11/~/€/\/111 \%111!< 1\@1,1& /\1011® 10 PRQ,FQ\A€, '§)A 1115 1\wA1A/a wasn/1 allowed '1:1> C0L11
__wvv WHN€S$QS 01\/01 DRes€/\)t 1\1`5 v1`ews 1111“1:09/\/\011111255€ <1~1€1)\/11:11/ 1181/145. 115°1 115
‘160 <1‘1835> T'1\1Nq;1\c was /111 wh`Hed 110 év 15er1 /aw 1`1\2 1213€/\/01011/'1$ am
_NoJr eA/'1111€01 10 01110\111:1`801 /`/v\MuA/1"171/ Lecag§_e(__§@ 01011N'1~1\6F 1045 51\01/1//11 01 ‘1'1\€,
11`0101“111)/\/ 01 01 coNS'1'1‘1J/k1lo~o11 R1¢11\1’ 011/41 611 11\11, R1c11\15 wm c1eo1R11/ €5‘10\1)1 1151\11.01 1113
;H\o, 'hw 013 1;1\11, ou11eaec1 m15¢oN011/1c,‘1; 566 <501\1\01€£ V. KQ+?- 533 11 5 1‘1L1 C
_TO D&ev01`11 01\/ 1\1`5 wind 1a1io~ 010\11~/1 110 111011`1\)111:1C mmth 51\ow <D 1\<1 e~qaqec1` 111/01

_Qj;c,@ aei;`vdgig §11~9 0&11\1111`21`1\/<1 fm /11€1< 010`111 v€Q>R/§ 1011/mbe qRievo\/vce

_pRoce:\,\/Qe 01111111:1' 01@\%1/@101115 111€<10\1 misco/ducch ’1>11£5\)101\/1 10<€)<1\1\:11"17$> Q10\551‘11`
_ca-h\o/v 1\¢0/<11\/<15>. @b 1\@ 511¥€/<€01 /1/~/ /101\/2/<5@ Ac/JU`Z>N <5@\/?/1/ ~\0/1/11§ 1/\/ /1
one ~\M C¢t\ 111 A01v\1/~)1`5+M~111/z 520£€01¢1:1`<>/1/ 141 0 /v\A>L1/v\wv1 SQc\A/<Hv PR150/1/
be§oke 11@11\/01 1111/vst '1§ /1 /v\1/\/1M111JM JQCMHV .PKI$o/\/ AC/€oss fm 51@1@`5>
§§ 171\9, 001\/€/§51; 2101/2511 H\o. l`d0\1A/111;F 511€1~`@€201 0€1' 11\11/\01/\/015 0{11\1 01@13\’/1/
_QMJ;$ 111/015 s-11Q1c/11\/ 20101601 jv 1\15 11111120<170/1/ 016 '1‘1\2 /11€11 01@`1 016 LZ/QR
11\/1\'\0;1~& mdu/owen 1>,€0€€¢11,11€& 14100\/11; 11\2/€€ 111601011 /16111/111\€5 JWQ'A/q 1\15 _
_6101$51¥1¢0,12`0,\/ /120211\/05 111111`01\ R€So\11w1 1`~ oR11/1/1J1`/\/ 15<>.<100\-/\%101“12`0/1/
MJ §§ g 13d Kg.gp@ 566<_.`5010~10~1/ Pe11€A\/. ’7‘15 F.B,:| '7'1’7. '786 87 (611'\€1`12.3015)
_FvR 1111 110 Aeo\$o/v$ /151€01 1\€2911\/ 110 0101~£1`1616//111@/<11/5 01e1"e/\/0101/\/1S m01‘1b/1/j0
Afs/m`$$ 440101111011_1:1`¢01/`~\/1/11/1/1/111/ 102 01@141€¢1 1111/1111 01€€,1'1,\011`.¢€,

/@111>€1 3111/61 :10111> . { 351/ed 01111110£11@11111111#/130<3>
< 1>/1@§ 11 01: L1>

 

 

 

